

Matter of Attorneys in Violation of Judiciary Law § 468-a (Kim) (2023 NY Slip Op 04407)





Matter of Attorneys in Violation of Judiciary Law § 468-a (Kim)


2023 NY Slip Op 04407


Decided on August 24, 2023


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:August 24, 2023

PM-189-23
[*1]In the Matter of Attorneys in Violation of Judiciary Law § 468-a. Attorney Grievance Committee for the Third Judicial Department, Petitioner; Robin-Hwajin Yoon Kim, Respondent. (Attorney Registration No. 2566719.)

Calendar Date:May 22, 2023

Before:Garry, P.J., Lynch, Aarons, Reynolds Fitzgerald and Fisher, JJ., concur.

Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.
Law Offices of Michael S. Ross, New York City (Michael S. Ross of counsel), for respondent.



Motion by respondent for an order reinstating her to the practice of law following her suspension by January 2014 order of this Court (Matter of Attorneys in Violation of Judiciary Law § 468-a, 113 AD3d 1020, 1039 [3d Dept 2014]; see Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.16; Rules of App Div, 3d Dept [22 NYCRR] § 806.16).
Upon reading respondent's notice of motion and affidavit with exhibits sworn to March 29, 2023 and the May 18, 2023 responsive correspondence from the Attorney Grievance Committee for the Third Judicial Department, and having determined, by clear and convincing evidence, that (1) respondent has complied with the order of suspension and the rules of this Court, (2) respondent has the requisite character and fitness to practice law, and (3) it would be in the public interest to reinstate respondent to the practice of law (see Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.16 [a]), it is
ORDERED that respondent's motion for reinstatement is granted; and it is further
ORDERED that respondent is reinstated as an attorney and counselor-at-law, effective immediately.
Garry, P.J., Lynch, Aarons, Reynolds Fitzgerald and Fisher, JJ., concur.








